Case 1:24-cv-00724-RDA-IDD Document 9-1 Filed 05/24/24 Page 1 of 4 PagelD# 98

From: Jonathan Fahey <jfahey@HoltzmanVogel.com>

Sent: Wednesday, May 22, 2024 3:04 PM

To: Christina Jump <Cjump@clcma.Org>

Cc: Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Mark Goldfeder <mark@jewishadvocacycenter.org>;
scott.bornstein@gtlaw.com; David Schoen <schoenlawfirm@gmail.com>; Samira Elhosary <selhosary@clcma.org>
Subject: RE: Request for Service (Parizer, et. al. v. AJP Educational Foundation, Inc. , et. al.)

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oil Mofo) ese 10 yo) (ef fol teeta Mole) <M CLe Lolo ke

Hi Christina,

We do not object to your request for a 45-day extension.

Thank you.

Jonathan Fahey

Jonathan Fahey

Partner

Holtzman Vogel

Office: 202.737.8808

Mobile: 703.687.2433

jfahey@HoltzmanVogel.com // www.HoltzmanVogel.com

From: Christina Jump <Cjump@clcma.Org>

Sent: Tuesday, May 21, 2024 3:24 PM

To: Jonathan Fahey <jfahey@HoltzmanVogel.com>

Cc: Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Mark Goldfeder <mark@jewishadvocacycenter.org>;
scott.bornstein@gtlaw.com; David Schoen <schoenlawfirm@gmail.com>; Samira Elhosary <selhosary@clcma.org>
Subject: RE: Request for Service (Parizer, et. al. v. AJP Educational Foundation, Inc. , et. al.)

| Some people who received this message don't often get email from cjump@clcma.org. Learn why this is important

Counsel:

As you know, we have an upcoming response date on behalf of AMP (as the registered d/b/a of AJP) in this litigation.
Since AMP was served May 6 and the 21 days expires on Memorial Day, AMP’s current response deadline is May 28,

2
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2024. To allow for us to properly associate with local counsel and in light of the volume of allegations contained within

the Complaint, we will seek an extension of 45 days. Please advise at your earliest convenience if you are amenable to
that by agreement.

Thank you.

MUSLIM Christina A. Jump
W LEGAL FUND Civil Litigation Department Head

of America

Muslim Legal Fund of America (MLFA)
The Constitutional Law Center for Muslims in America (CLCMA)

is the legal division of MLFA
100 N. Central Expy, Suite 1010, Richardson, TX 75080

Phone: (972) 914-2507 {main}

Email: christina. jump@mlfa.org | cjump@clcma.org

Website: https://mlfa.org/

HHOuO

I work across multiple time zones and may send emails outside of standard business hours. Although ! send emails at times that are convenient
for me, | do not expect that you read, respond or follow up on my emails outside your hours of work.

*Board Certified in Labor and Employment Law, Texas Board of Legal Specialization
Case 1:24-cv-00724-RDA-IDD Document 9-1 Filed 05/24/24 Page 3 of 4 PagelD# 100

From: Christina Jump <Cjump@clcma.Org>

Sent: Monday, May 6, 2024 7:05 PM

To: Jonathan Fahey <jfahey@HoltzmanVogel.com>

Cc: Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Mark Goldfeder <mark@jewishadvocacycenter.org>;
scott.bornstein@gtlaw.com; David Schoen <schoenlawfirm@gmail.com>

Subject: RE: Request for Service (Parizer, et. al. v. AJP Educational Foundation, Inc. , et. al.)

Counsel:

AJP, with its d/b/a of AMP, is not the “parent organization” of NSJP.

Despite your pleadings and media tours to the contrary, zero corporate relationship exists between the two.

| do not represent NSJP, never have (though | have represented AMP/AJP for over seven years), and no, neither | nor
anyone else at our organization will accept service for NSJP.

| honestly have no idea who a contact point is for NSJP, or where — but you wrongly list AMP/AJP’s address — NSJP has no
operations or representatives at AMP’s location.
Their website lists no names, and | do not have any interactions with any representatives for them.

Christina A. Jump
[x] merece Civil Litigation Department Head

Muslim Legal Fund of America (MLFA)
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Website: https://mlfa.org/

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for me, | do not expect that you read, respond or follow up on my emails outside your hours of work.
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[x] seesssesn] Super Lawyers:

Battier

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From: Jonathan Fahey <jfahey@HoltzmanVogel.com>

Sent: Monday, May 6, 2024 5:53 PM

To: Christina Jump <Cjump@clcma.Org>

Cc: Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Mark Goldfeder <mark@jewishadvocacycenter.org>;
scott.bornstein@gtlaw.com; David Schoen <schoenlawfirm@gmail.com>

Subject: Request for Service (Parizer, et. al. v. AJP Educational Foundation, Inc. , et. al.)

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fal Moo) SB Ve Es ol (elfelUk-ieeseeml Mela) 4M Cole la ies

Dear Ms. Jump:

We represent the plaintiffs in Parizer, et. al. v. AJP Educational Foundation, Inc. a/k/a American Muslims for
Palestine and National Students for Justice in Palestine (NSJP) (24-cv-724), filed last week in the Eastern District of
Virginia. We understand that you currently represent AJP.

Earlier today, the Executive Director of AJP accepted service on behalf of AJP but declined to accept on behalf of
NSJP. Given AJP’s role as the parent organization of NSJP, we would like to know if you are able to accept service

on behalf of NJSP. If not, we ask that you provide us with an appropriate contact to effectuate service on NSJP.
Thank you very much.

Sincerely,

Jonathan Fahey
